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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 BRAIDWOOD MANAGEMENT INC. et §
 al.,                         §
                              §
      Plaintiffs,             §
                              §
 v.                           § Civil Action No. 4:20-cv-00283-O
                              §
 XAVIER BECERRA et al.,       §
                              §
      Defendants.             §

                                           ORDER

       Before the Court is Plaintiffs’ Consent Motion For Extension Of Time To File Joint Status

Report (ECF No. 93), filed September 8, 2022. Noting the agreement of the parties, the Court

GRANTS the motion and ORDERS that the Joint Status Report is due September 16, 2022.

       SO ORDERED this 8th day of September, 2022.


                                                        _____________________________________
                                                        Reed O’Connor
                                                        UNITED STATES DISTRICT JUDGE
